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7

8                                     UNITED STATES DISTRICT COURT
9
                   NORTHERN DISTRICT OF CALIFORNIA – SAN JOSE DIVISION
10
                                                  CASE NO.
11
     MARK BRIDGES,
12
                               Plaintiff,         COMPLAINT FOR DAMAGES:
13
            v.                                       1. Violation of Fair Credit Reporting Act;
14                                                   2. Violation of California Consumer Credit
                                                        Reporting Agencies Act
15   Experian Information Solutions, Inc.;
     Verizon Wireless Services fdba MCI DP,
16   and DOES 1 through 100 inclusive,
                          Defendants.
17

18

19

20

21   COMES NOW Plaintiff MARK BRIDGES, an individual, based on information and belief, to
22   allege as follows:

23                                        INTRODUCTION
24
        1. This case arises under the Fair Credit Reporting Act, 15 U.S.C. § 1681s-2(b), 15 U.S.C.
            § 1681e(b)), 15 USC 1681i-(a), 15 U.S.C. § 1681i(a)(2)(A(1) and the California
25
            Consumer Credit Reporting Agencies Act, California Civil Code §1785.25(a). Plaintiff
26
            seeks redress for the unlawful and deceptive practices committed by the Defendants in
27
            connection with their inaccurate, misleading, or incomplete reporting of Plaintiff’s debt
28
            included and discharged in Plaintiff’s Chapter 7 bankruptcy.
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1    2. Defendant Verizon Wireless’ tradeline is reporting Plaintiff’s account as being charged
2       off and in collection with a balance and past due balance owed instead of discharged in
3       bankruptcy.
4    3. The United States Congress has found the banking system is dependent upon fair and

5       accurate credit reporting. Inaccurate credit reports directly impair the efficiency of the
        banking system, and unfair credit reporting methods undermine the public confidence,
6
        which is essential to the continued functioning of the banking system.
7
     4. There exists today in the United States a pervasive and fundamental misunderstanding
8
        about the long term impact filing a consumer bankruptcy has on a consumer’s credit
9
        worthiness. Specifically, many consumers believe that because a bankruptcy can be
10
        reported on their credit report for ten years their credit worthiness will be ruined for the
11      same length of time. This is not true.
12   5. The majority of consumer Debtors who file consumer bankruptcy do so to raise their
13      FICO Score and remedy their poor credit worthiness.
14   6. It is entirely possible for consumer Debtors to have over a 700 FICO Score within as

15      little as 12 months after filing a consumer bankruptcy (Chapter 7 or Chapter 13).
     7. Creditors and lending institutions are aware of the misconception that filing a consumer
16
        bankruptcy destroys a consumer’s credit worthiness for ten years.
17
     8. In an effort to perpetuate the aforementioned bankruptcy myth, creditors intentionally
18
        and routinely ignore credit reporting industry standards for accurately reporting
19
        bankruptcies and debts included in those bankruptcies in an effort to keep consumers’
20
        credit scores low and their interest rates high.
21   9. Creditors know that by deviating from recognized credit reporting standards consumers
22      will have difficulty raising their credit scores and improving their credit worthiness.
23   10. This was not the intent of Congress when enacting the Fair Credit Reporting Act and
24      the Bankruptcy Abuse Prevention and Consumer Protection Act.

25                                JURISDICTION & VENUE
26   11. Plaintiff re-alleges and incorporates herein by this reference the allegations in each and
27      every paragraph above, fully set forth herein.
28
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1
     12. This Court has jurisdiction under 28 U.S.C. §§ 1331, 1337, and 1367, and 15 U.S.C. §
2
        1681
3
     13. This venue is proper pursuant to 28 U.S.C. §1391(b).
4

5
                                  GENERAL ALLEGATIONS
6
     14. Plaintiff alleges that Verizon was included in Plaintiff’s Chapter 7 bankruptcy filing.
7
     15. Plaintiff alleges that each and every Defendant is familiar with credit reporting industry
8
        standards and subscribes thereto.
9
     16. Plaintiff alleges that each and every Defendant understands that deviation from credit
10
        reporting industry standards can and often does result in denial of credit, higher interest
11
        rates, and prompts those making credit decisions to draw a more negative inference
12
        from the reported data than if the Defendants reported in accordance with the
13
         recognized industry standard.
14   17. Plaintiff alleges that all actions alleged herein by Defendants were done knowingly,
15      intentionally, and in reckless disregard for credit reporting industry standards in an
16      attempt to purposefully undermine Plaintiff’s fresh start via a Chapter 7 discharge.

17   18. In the alternative Plaintiff alleges that each and every Defendant’s actions was the

18
        result of reckless policies and procedures that inevitably led to inaccurate, misleading,
        or incomplete credit reporting.
19
                FICO, Inc.
20
     19. FICO is a leading analytics software company with its principal headquarters located in
21
        San Jose California. FICO has over 130 patents related to their analytics and decision
22
        management technology, and regularly uses mathematical algorithms to predict
23
        consumer behavior including credit risk.
24   20. The FICO Score has become the standard measure of consumer credit risk in the United
25      States and is used in ninety percent of lending decisions.
26   21. A FICO score consists of a three-digit number summarizing a consumer’s credit risk or
27      likelihood to repay a loan. FICO periodically updates its scoring models resulting in

28
        multiple FICO Score versions.
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1    22. Base FICO Scores range from 300 to 850, while industry-specific FICO Scores range
2       from 250-900. A higher FICO Score demonstrates lower credit risk or less likelihood of
3       default.
4    23. Different lenders use different versions of FICO Scores when evaluating a consumer’s

5       credit worthiness.
     24. There are 28 FICO Scores that are commonly used by lenders.
6
     25. A consumer’s FICO Score is calculated based solely on information in consumer credit
7
        reports maintained at credit reporting agencies (CRAs).
8
     26. The three largest CRAs are Experian Information Solutions, Inc.; Equifax, Inc. and
9
        Transunion, LLC.
10
     27. FICO does not control what information is provided on a consumer’s credit report.
11      Instead, the scoring models or algorithms are based on the premise that information
12      provided by the CRAs is accurate and complies with credit reporting industry
13      standards.
14   28. There are five key factors that a FICO Score considers: 1) Payment History 2) Amount

15      of Debt 3) Length of Credit History 4) New Credit and 5) Credit Mix.
     29. Each of the five factors is weighted differently by FICO.
16
     30. 35% of a consumer’s FICO Score relates to payment history, 30% relates to the amount
17
        of debt, 15% relates to the length of credit history, 10% relates to new credit, and the
18
        last 10% relates to a consumer’s credit mix or the different types of debts reported.
19
     31. Payment history refers to whether a consumer has paid their bills in the past, on time,
20
        late or missed payments. The more severe, recent, and frequent the late payment
21      information, the greater the impact on a FICO Score. Public record items such as
22      bankruptcy, foreclosure, judgments, and wage garnishments are also considered part of
23      a consumer’s payment history.
24   32. In factoring the severity of delinquent payments a FICO Score considers how late the

25      payment continues to be, how much is owed, how recently this occurred, and how

26
        many delinquent accounts exist.
     33. Once a delinquent account has been remedied the longer the account stays current the
27
        more a consumer’s FICO Score should increase.
28
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1    34. FICO Scores are entirely dependent upon information provided by data furnishers
2       (DFs) to CRAs.
3    35. The FICO scoring formula treats both Chapter 7 and Chapter 13 Bankruptcies similarly
4       in terms of their impact on one’s FICO Score. Specifically, both Chapters have the

5       same level of severity with respect to their FICO Score and for both, FICO uses the
        FILING DATE to determine how long ago the bankruptcy took place.
6
                Metro 2
7
     36. The Consumer Data Industry Association is an international trade association
8
        representing the consumer credit, mortgage reporting, employment and tenant screening
9
        and collection service industries.
10
     37. The credit reporting industry has adopted a standard electronic data reporting format
11      called the Metro 2 format. The Metro 2 format was developed by the CDIA in an effort
12      to universally report debts in a particular manner that is understood to be the most
13      accurate way in which to report a debt. Specifically, Metro 2 format was designed to
14      allow reporting of the most accurate and complete information on consumer’s credit

15      history.
     38. The CDIA’s Metro 2 format is the credit reporting industry standard for accurate credit
16
        reporting.
17
     39. The credit reporting industry at large depends upon Metro 2 and the CDIA’s
18
        recommendations for reporting debt accurately.
19
     40. The CDIA is The expert on accurate credit reporting. In support of this allegation
20
        Plaintiff avers the following:
21          a. The CDIA offers a FCRA certificate program for all CRAs.
22          b. The CDIA offers a FCRA awareness program for all CRAs.
23          c. The CDIA offers a FCRA Certificate program for DFs.
24          d. The CDIA offers a FCRA awareness program for DFs.

25          e. The CDIA offers a Metro 2 Learning system to provide detailed instructions on

26
                the use of Metro 2 format to ensure understanding of the reporting guidelines
                for each field of the Metro 2 Format as well as the relationship between multiple
27
                fields.
28
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1           f. The CDIA hosts workshops developed and authorized by Equifax, Experian,
2               Innovis, and Transunion.
3           g. The CDIA developed a credit reporting resource guide for accurately reporting
4               credit.

5    41. The CDIA’s Metro 2 is accepted by all CRAs.
     42. The credit reporting accepted industry standards for reporting metro 2 accurately are
6
        found in the CDIA’s credit reporting resource guide (CRRG).
7
     43. The CRRG outlines the industry standards for most accurately reporting debts using
8
        Metro 2.
9
     44. The credit bureaus helped write the CRRG
10
     45. The CRRG is not readily available to the public. It can be purchased online for
11      $229.45.
12   46. Even if a buyer is ready willing and able to pay for the CRRG, the CDIA will NOT
13      grant access to the guide unless the buyer represents an organization included in the
14      Metro 2 Access Policy.

15   47. When FICO calculates credit scores the algorithms use Metro 2 information based on
        industry standards established by the CDIA.
16
     48. The algorithms used by FICO in determining a consumer’s credit score are premised on
17
        the Metro 2 data received comporting with the CDIA’s recommendations for accurate
18
        credit reporting.
19
     49. If the Metro 2 data received by FICO deviates from industry standards an inaccurate or
20
        incorrect FICO Score results. If the resulting FICO Score is lower a consumer will be
21      considered a higher credit risk resulting in less favorable lending terms.
22              e-OSCAR
23   50. E-OSCAR is the web based Metro 2 compliant system developed by Experian
24      Information Solutions, Inc.; Equifax, Inc.; TransUnion, LLC and Innovis that enables

25      DFs and CRAs to create and respond to consumer credit disputes

26
     51. When a consumer sends a dispute letter to a CRA the CRA then sends an automated
        credit dispute verification (ACDV) via e-Oscar to the DF.
27
     52. The ACDV contains within it Metro 2 codes next to certain data fields associated with a
28
        credit file e.g. “Account Type” “07” (07 in Metro 2 refers to a Charge Account)
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1                 Bankruptcy Credit Reporting Industry Standards Post Discharge
2     53. When a consumer files bankruptcy certain credit reporting industry standards exist.
3     54. Certain Metro 2 data is regularly expected and calculated by FICO when determining a
4         consumer’s credit worthiness.

5     55. Post discharge all derogatory reporting should cease in the payment history.
      56. No credit reporting should occur in the payment history post discharge.
6
      57. Any balance or past due balance should be reduced to $0.00.
7
      58. The consumer information indicator should be updated to reflect an E or discharged
8
          Chapter 7. This alerts all potential lenders this debt is no longer personally owed or
9
          collectable against the consumer irrespective of whether the account has been sold,
10
          transferred, or otherwise sent to collections.
11                Plaintiffs Bankruptcy Filing
12    59. Plaintiff filed for Chapter 7 bankruptcy protection on August 31, 2015 in order to
13        reorganize and repair Plaintiff’s credit worthiness and FICO Score.
14    60. Post filing, Defendants would not accept payments directly from Plaintiff.

15    61. Post filing, Defendants were not anticipating receiving payments directly from Plaintiff.
     62. Plaintiff’s plan was discharged on March 22, 2016.
16
     63. On December 29, 2016 Plaintiff ordered a credit report from Equifax, Inc. to ensure
17
         proper reporting by Plaintiff’s Creditors.
18
     64. Plaintiff noticed one Verizon trade line on the December 29, 2016 credit report that was
19
          reporting inaccurate, misleading, and incomplete information that did not comply with
20
          credit reporting industry standards.
21   65. Defendant Verizon was reporting Plaintiff’s account’s status, post-discharge, as in
22        collections and charged off with a balance and past due balance in the amount of $66
23        owed.
24   66. Defendant Verizon was listed as a creditor in Plaintiff’s initial bankruptcy filing and

25        received notice of the filing from the Bankruptcy Notification Center.

26
     67. In response, Plaintiff disputed the inaccurate Verizon trade line via certified mail with
          Experian Information Solutions, Inc.; Equifax, Inc.; and TransUnion, LLC on February
27
          11, 2017.
28
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1    68. Plaintiff’s dispute letter specifically put Verizon on notice that Plaintiff had filed for
2         bankruptcy the account should not be reported Charged off.
3    69. Plaintiff requested for any derogatory reporting to be updated.
4    70. Plaintiff is informed and believes that each CRA received Plaintiff’s dispute letter and

5         in response sent Plaintiff’s dispute to Universal, Verizon, and Credit One via an ACDV
          through e-OSCAR.
6

7    71. On May 24, 2017 Plaintiff ordered a second three bureau credit report from Equifax,
8         Inc. to ensure Plaintiff’s accounts had been updated.
9         Inaccuracy

10   72. Defendant Verizon was reporting Plaintiff’s account, beginning in 7GI4xxxx,

11        inaccurately.

12   73. Defendant reported a charge off and indicated the account was in collections.

13   74. Defendant Verizon also reported, post discharge, that Plaintiff owed a balance and a

14        past-due balance in the amount of $66.00.

15   75. Defendant Verizon’s reporting does not report that the account was included or

16        discharged in Plaintiff’s chapter 7 bankruptcy.

17   76. Defendant Verizon’s charge off reporting continued after Plaintiff received his chapter

18        7 discharge.

19   77. Plaintiff’s account with Verizon is not currently charged off as it has been discharged in

20        bankruptcy.

21   78. Plaintiff does not owe Verizon $87.00 as is reported as the account was discharged in

22        bankruptcy.

23   79. Defendant reporting a charge off is simply impossible given Plaintiff’s bankruptcy

24        discharge and the legal status of a debt changes upon discharge.

25   80. Plaintiff alleges that Defendant Verizon did not investigate whether Plaintiff filed for

26        bankruptcy or whether Plaintiff’s account was included in the bankruptcy.

27   81. The Credit Reporting Agencies provided notice to Defendant Verizon that Plaintiff was

28        disputing the inaccurate and misleading information, but Defendant Verizon failed to
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1
           conduct a reasonable investigation of the information, as required by the Fair Credit
2
           Reporting Act.
3
     82. Defendant Verizon’s reporting appears to undermine Plaintiff’s bankruptcy discharge as
4
           Verizon has taken the approach that it is ok to continue reporting the account as in
5
           collections and charged off, post discharge .
6
     83. Based on Plaintiff’s dispute, Defendant Verizon should have known that its account was
7
           included in Plaintiff’s bankruptcy given that it arose prepetition.
8
     84.   The most basic investigation would include a simple review of well-established credit
9
           reporting industry standards.
10
     85. Plaintiff alleges that Defendant Verizon did not review well established industry
11
           standards for credit reporting.
12
     86. If Defendant Verizon had reviewed such standards, Defendant Verizon would have seen
13
           that their reporting was not in compliance and consequentially inaccurate or incomplete.
14
     87. The lack of investigation is unreasonable.
15
                     Willfulness
16
     88. In addition Plaintiff alleges that the inaccuracies were a result of reckless policies and
17
           procedures in place by Defendant when reviewing disputes.
18
     89. Verizon does not properly train its employees with respect to investigations.
19
     90. These employees are given very little training and are expected to spend less than five
20
           minutes, reviewing, investigating, and responding to disputes. Thus where the FCRA
21
           requires a reasonable investigation Universal does not actual conduct an investigation.
22
     91. Such a system is inherently reckless and no doubt resulted in the inaccuracies contained
23
           herein.
24
                     Damages
25
     92. Plaintiff pulled not one but two (an Equifax Tri Merge report & Experian report) credit
26
           reports at issue after the dispute process expired at a cost of $39.95 each, specifically for
27
           the sole purpose of verifying that the inaccuracies were fixed. Both reports contained the
28
           same inaccurate information.
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1
     93. As a result of the incorrect reporting, Plaintiff has suffered economic loss, emotional
2
          harm, and excessive stress resulting in doubt as to the effectiveness of the Bankruptcy
3
          Code and the power of this Court to preserve and perpetuate a fresh start
4
     94. In addition Plaintiff’s Experian credit score is almost 100 points lower than Trans Union
5
          and 80 points lower than Equifax.
6
     95. The actions of Experian and Verizon as alleged herein are acts in violation of the Fair
7
          Credit Reporting Act, 15 U.S.C. § 1681s-2(b).
8
     96. The actions of Verizon as alleged herein are acts in violation of the Consumer Credit
9
          Reporting Agencies Act California Civil Code § 1785.25(a).
10                            FIRST CAUSE OF ACTION
                   (Violation of Fair Credit Reporting Act 15 U.S.C. § 1681e(b))
11
                               Against Defendants and Does 1-100)
12
          Experian Information Solutions, Inc. – Failure to Assure Credit Reporting
13        Accuracy.
14
     97. Plaintiff realleges and incorporates herein the allegation in each and every paragraph
15        above as though fully set forth herein.
16   98. Experian Information Solutions, Inc.violated 15 U.S.C. § 1681e(b) by failing to establish
17        and/or to follow reasonable procedures to assure maximum possible accuracy in the
18        preparation of Plaintiff’s credit reports and credit files it published and maintained

19        concerning Plaintiff.
     99. As a result of Experian Information Solutions, Inc. violation of 15 U.S.C. § 1681e(b),
20
          Plaintiff suffered actual damages, including but not limited to: damage to reputation,
21
          embarrassment, humiliation, and other mental and emotional distress.
22
     100. The violations by Experian Information Solutions, Inc. was willful, rendering each of the
23
          Defendants individually liable for punitive damages in an amount to be determines by the
24
          Court pursuant to 15 U.S.C. § 1681n.
25                Willfulness
26   101. Experian’s actions were willful and or reckless given as a policy Equifax simply parrots
27        whatever information is provided by a data furnisher rather than doing even a cursory
28        investigation.
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1    102. In addition Experian intentionally hires employees who do NOT live within the
2         intercontinental United States to investigate consumer disputes.
3    103. Experian hires these employees to specifically undermine and frustrate a consumer’s
4         ability to confront the individual specifically responsible for inaccurate reporting.

5    104. Experian provides little to no training to these individual employees and expects these
          employees to conduct over 90 investigations per day. Such policy allows less than five
6
          minutes to review, investigate, and respond to a consumer’s dispute.
7
     105. Such policy is inherently reckless and no doubt leads to inaccuracies
8
     106. In the alternative, Experian Information Solutions, Inc. was negligent, as they failed to
9
          do even the most basic investigation, which would have uncovered the inaccuracies at
10
          issue, which entitles Plaintiff to recovery under 15 U.S.C. § 1681o.
11   107. Plaintiff is entitled to recover actual damages, statutory damages, costs and attorney’s
12        fees from Experian Information Solutions, Inc. in an amount to be determines by the
13        Court pursuant to 15 U.S.C. § 1681n and § 1681o.
14                             SECOND CAUSE OF ACTION
                  (Violation of Fair Credit Reporting Act 15 U.S.C. § 1681s-2(b))
15                              Against Defendants and Does 1-100)
16        Verizon Wireless –Failure to Reinvestigate.
17
     108. Plaintiff realleges and incorporates herein the allegation in each and every paragraph
18
          above as though fully set forth herein.
19   109. 15 USC 1681s-2(b) and 15 USC 1681i-(a)1 prohibits furnishers from providing any
20        information relating to a consumer to any consumer reporting agency if the person knows
21        or has reasonable cause to believe that the information is inaccurate or misleading and
22        requires a furnisher to update and or correct inaccurate information after being notified

23        by a consumer reporting agency of a dispute by a consumer.
     110. Defendant Verizon violated section 1681s-2(b) by failing to conduct a reasonable
24
          investigation and re-reporting misleading and inaccurate account information.
25
     111. Experian Information Solutions, Inc.provided notice to Verizon that Plaintiff was
26
          disputing the inaccurate and misleading information but Universal failed to conduct a
27
          reasonable investigation of the information as required by the FCRA.
28
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1    112. Based on Plaintiff’s dispute, Verizon should have known their accounts were included in
2         Plaintiff’s Chapter 7 bankruptcy.
3    113. The most basic investigation would include a simple review of well-established credit
4         reporting industry standards.

5    114. Plaintiff alleges Verizon did not review well established industry standards for credit
          reporting.
6
     115. If Verizon had reviewed such standards Defendants would have seen their reporting was
7
          not in compliance and consequently inaccurate and or incomplete.
8
     116. Such an investigation would be unreasonable.
9
     117. Plaintiff also alleges that Universal, Verizon, and Credit One did not investigate whether
10
          Plaintiff filed for bankruptcy, whether their accounts were included.
11   118. The lack of investigation is unreasonable.
12                Willfulness
13   119. Plaintiff further alleges that Verizon has not properly trained those directly investigating
14        disputes on Metro 2 generally or credit reporting industry standards and as such have

15        developed reckless policies and procedures.
     120. These individuals routinely do nt investigate disputes but instead simply respond that the
16
          information being reported is accurate.
17
     121. Such policies are inherently reckless and make inaccuracies inevitable.
18
          Experian Information Solutions, Inc. – Failure to Reinvestigate Disputed
19        Information.
20
     122. Plaintiff realleges and incorporates herein the allegation in each and every paragraph
21        above as though fully set forth herein.
22   123. After Plaintiff disputed the accounts mentioned above, Experian Information
23        Solutions, Inc. were required to conduct a reasonable investigation and to delete any
24        information that was not accurate under 15 USC 1681i-(a)1.

25
     124. Experian Information Solutions, Inc. failed to conduct a reasonable investigation and
          failed to correct the misleading and or inaccurate statements on the account within the
26
          statutory time frame or at all.
27
     125. Experian Information Solutions, Inc. is not a passive entity bound to report whatever
28
          information a DF provides.
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1    126. Plaintiff alleges that Experian Information Solutions, Inc. is readily familiar with
2         Metro 2 guidelines and credit reporting industry standards.
3    127. Experian Information Solutions, Inc. sponsors and authorizes workshops hosted by
4         the CDIA that teach the following to DFs:

5           a.    Do not report delinquencies post discharge.
            b.     Do not report delinquencies post petition pre discharge in the payment history
6
                  section regardless of Chapter 7 or Chapter 13. Instead report the Metro 2
7
                  indicator D.
8
            c.    Update the CII to E post discharge in Chapter 7
9
            d.    In Chapter 7 cases do not report past due balances post discharge.
10
            e.    In Chapter 7 cases do not report balances that are inconsistent.
11          f.    In Chapter 7 cases do not report monthly payments that are inconsistent.
12          g.    The above reporting is the correct and accurate way to report debts included in
13                consumer bankruptcy filings.
14   128. Given the aforementioned, Plaintiff alleges that Experian Information Solutions, Inc.

15        can and does suppress inaccurate information from being reported when DFs provide
          inaccurate information.
16
     129. Experian Information Solutions, Inc. can and does instruct DFs on how to properly
17
          report certain accounts from time to time upon request from the DF.
18
     130. Experian Information Solutions, Inc. failed to conduct a reasonable investigation
19
          because any basic investigation would have uncovered that certain DFs were not
20
          following credit reporting industry standards.
21   131. Experian Information Solutions, Inc. would have known that Plaintiff filed for
22        Chapter 7 based on multiple other accounts reporting as much.
23   132. Experian Information Solutions, Inc. would have known that Plaintiff’s bankruptcy
24        had been discharged based on multiple other accounts reporting as much.

25   133. Experian Information Solutions, Inc. would have known that no delinquencies should

26
          be reported post discharge.
     134. Experian Information Solutions, Inc. therefore did not do the most basic investigation
27
          regarding credit reporting industry standards otherwise the aforementioned would
28
          have been uncovered.
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1                                THIRD CAUSE OF ACTION
                  (Violation of Fair Credit Reporting Act 15 U.S.C. § 1681i(a)(4))
2
                                Against Defendants and Does 1-100)
3
          Experian Information Solutions, Inc. – Failure to Review and Consider All
4         Relevant Information.
5
     135. Plaintiff realleges and incorporates herein the allegation in each and every paragraph
6         above as though fully set forth herein.
7    136. Experian Information Solutions, Inc. violated 15 U.S.C. § 1681i(a)(4) by failing to review
8         and consider all relevant information submitted by Plaintiff.
9    137. As a result of Experian Information Solutions, Inc.’s violation of 15 U.S.C. § 1681i(a)(4),

10        Plaintiff suffered actual damages, including but not limited to: damage to reputation,
          embarrassment, humiliation, and other mental and emotional distress.
11
     138. The violations by Experian Information Solutions, Inc. was willful, rendering each of the
12
          Defendants individually liable for punitive damages in an amount to be determines by the
13
          Court pursuant to 15 U.S.C. § 1681n. In the alternative, Experian Information Solutions,
14
          Inc. were negligent, which entitles Plaintiff to recovery under 15 U.S.C. § 1681o.
15
     139. Plaintiff is entitled to recover actual damages, statutory damages, costs and attorney’s
16        fees from Experian Information Solutions, Inc. in an amount to be determines by the
17        Court pursuant to 15 U.S.C. § 1681n and § 1681o.
18                             FOURTH CAUSE OF ACTION
                 (Violation of Fair Credit Reporting Act 15 U.S.C. § 1681i(a)(5)(A))
19                              Against Defendants and Does 1-100)
20
          Experian Information Solutions, Inc. – Failure to Delete Disputed and Inaccurate
21        Information.

22   140. Plaintiff realleges and incorporates herein the allegation in each and every paragraph
23        above as though fully set forth herein.
24   141. Experian Information Solutions, Inc. violated 15 U.S.C. § 1681i(a)(5)(A) by failing to

25        promptly delete the dispute inaccurate items of information from Plaintiff’s credit file or

26
          modify the item of information upon a lawful reinvestigation.
     142. As a result of Experian Information Solutions, Inc.’s violation of 15 U.S.C. §
27
          1681i(a)(5)(A), Plaintiff suffered actual damages, including but not limited to: damage to
28
          reputation, embarrassment, humiliation, and other mental and emotional distress.
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1    143. The violations by Experian Information Solutions, Inc. was willful, rendering each of the
2         Defendants individually liable for punitive damages in an amount to be determines by the
3         Court pursuant to 15 U.S.C. § 1681n. In the alternative, Experian Information Solutions,
4         Inc. were negligent, which entitles Plaintiff to recovery under 15 U.S.C. § 1681o.

5    144. Plaintiff is entitled to recover actual damages, statutory damages, costs and attorney’s
          fees from Experian Information Solutions, Inc. an in an amount to be determines by the
6
          Court pursuant to 15 U.S.C. § 1681n and § 1681o.
7
                                        FIFTH CAUSE OF ACTION
8                     (Violation of California Consumer Credit Reporting Agencies Act
                   California Civil Code § 1785.25(a) Against Defendants and Does 1-100)
9

10        Verizon – Reporting Inaccurate Information to CRAs.

11   145. Plaintiff realleges and incorporates herein the allegation in each and every paragraph
12        above as though fully set forth herein.
13   146. In the regular course of its business operations Verizon routinely furnishes information

14        to credit reporting agencies pertaining to transactions between Defendants and
          Defendant’s consumers, so as to provide information to a consumer’s credit worthiness,
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          credit standing and credit capacity.
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     147. Verizon intentionally and knowingly reported misleading and inaccurate account
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          information to the CRAs that did not comport with well-established industry standards.
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     148. Plaintiff alleges that Verizon re-reported the information contained herein in violation
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          of California Civil Code § 1785.25(a).
20   149. Plaintiff also alleges that Verizon had reason to know that the information reported on
21        Plaintiff’s accounts were misleading, inaccurate, incomplete, and did not follow well-
22        established credit reporting industry standards.
23   150. Plaintiff alleges that Verizon had reason to know that by not comporting with well-

24        established industry standards lenders will draw a more negative inference with respect
          to Plaintiff’s credit worthiness.
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     151. Plaintiff alleges that the bankruptcy notices, disputes letters from all three credit
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          reporting agencies, the consumer data industry resource guide, and results of its
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          investigation should have provided notice to Verizon of its misleading and inaccurate
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            Case 5:17-cv-04086-LHK Document 1 Filed 07/19/17 Page 16 of 17



1         reporting as well as being noticed of the plan confirmation and proof of claim forms
2         sent by the U.S. Bankruptcy Court.
3    152. Verizon failed to notify Experian Information Solutions, Inc. that the information
4         Defendant Verizon re-reported was inaccurate before the end of 30 business days, in

5         violation of California Civil Code § 1785.25(a).
     153. Verizon’s communications of false information, and repeated failures to investigate,
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          and correct their inaccurate information and erroneous reporting were done knowingly,
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          intentionally, and in reckless disregard for their duties and Plaintiff’s rights.
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     154. As a direct and proximate result of Verizon’s willful and untrue communications,
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          Plaintiff has suffered actual damages including but not limited to inability to properly
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          reorganize under Chapter 7, reviewing credit reports from all three consumer reporting
11        agencies, time reviewing reports with counsel, sending demand letters, diminished
12        credit score, and such further expenses in an amount to be determined at trial.
13        Wherefore, Plaintiff prays for judgment as hereinafter set forth.
14                                     PRAYER FOR RELIEF

15        WHEREFORE, Plaintiff prays for judgment as follows:
              1. For preliminary and permanent injunctive relief to stop Defendants from
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                  engaging in the conduct described above;
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              2. Award punitive damages in order to deter further unlawful conduct pursuant to
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                  15 U.S.C. § 1681n; and California Civil Code § 1785.31
19
              3. Award attorney’s fees and costs of suit incurred herein pursuant to 15 U.S.C. §
20
                  1681n & o; California Civil Code § 1785.31;
21            4. For determination by the Court that Creditor’s policies and practices are
22                unlawful and in willful violation of 15 U.S.C. § 1681n, et seq.; and
23            5. For determination by the Court that Creditor’s policies and practices are
24                unlawful and in negligent violation of 15 U.S.C. § 1681o.

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26
                                                          SAGARIA LAW, P.C.
          Dated: July 19, 2017                            /s/ Elliot Gale, Esq.
27                                                        Scott Sagaria, Esq.
                                                          Elliot Gale, Esq.
28
                                                          Attorneys for Plaintiff
      Case 5:17-cv-04086-LHK Document 1 Filed 07/19/17 Page 17 of 17



1                            DEMAND FOR JURY TRIAL
2
     Plaintiff hereby demands trial of this matter by jury.
3

4                                                  SAGARIA LAW, P.C.
     Dated: July 19, 2017                          /s/ Elliot Gale, Esq.
5
                                                   Scott Sagaria, Esq.
6                                                  Elliot Gale, Esq.
                                                   Attorneys for Plaintiff
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